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                          IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



    MIGUELINA PENA, Individually and as             :
    Independent Administrator of the Estate of      :
    RICARDO MUNOZ, Deceased,                        :
                                      Plaintiffs,   :
                                                    :
                         v.                         :   CIVIL ACTION
                                                    :   DOCKET NO. 21-00590
    CITY OF LANCASTER, JARRAD                       :
    BERKIHISER, KARSON ARNOLD and,                  :
    COUNTY OF LANCASTER,                            :
    PENNSYLVANIA,                                   :
                                                    :
                                    Defendants.     :




                                               ORDER

          AND NOW, this 17th day of March 2022, after reviewing Defendants’ Request for the

Entry of a Confidentiality Order, Plaintiff’s opposition, and having held argument on the issue, it

is hereby ORDERED that the Parties shall abide by the accompanying Confidentiality Order or

risk sanctions. It is further ORDERED that the following Motions are DENIED AS MOOT

(ECF #40, 41, 44, & 45).



                                                BY THE COURT:


                                                /s/ Jeffrey L. Schmehl
                                                JEFFREY L. SCHMEHL, J. 1

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        The Court utilized both parties’ proposed confidentiality agreement, as well as plaintiff’s
specific objections to defendants’ confidentiality agreement in creating the accompanying
Confidentiality Order. It must first be noted that the public has an interest in the proceedings and
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outcome of this case. The Court crafted the Confidentiality Order under the principle that all
information and documents should be publicly accessibly unless otherwise noted. But in doing
so, good cause exists for holding certain materials in confidence to protect certain privacy
interests such as police officer and third-party safety, and to expedite discovery.
        As argued at the hearing on this matter, defendants have legitimate privacy and safety
concerns in certain discoverable materials. For example, this case was followed by significant
peaceful and violent protests in the City of Lancaster. Potentially discoverable information such
as reports generated during or after the protests have little probative value to the claims of this
case, a high degree of privacy and safety interests of police officers and others, and this case is
best managed by having such information held confidential. Other information such as the
names, addresses, and financial and health information of police officers or third-parties in police
reports should also be held in original confidence.
        Unlike the confidentiality agreement defendants submitted to the Court, the
accompanying Confidentiality Order ensures a heavier burden on defendants when claiming
confidentiality. For example, paragraph thirteen provides plaintiff with an efficient right to
contest a confidential label. While defendants may place certain information in original
confidence, defendants must ensure that such information meets the terms of the Confidentiality
Agreement, they have good cause in claiming confidentiality, and if plaintiff disagrees with
defendants’ confidential label, plaintiff may efficiently contest it per the right set out in
paragraph thirteen.
        Other changes as compared to defendants’ proposed confidentiality agreement includes
the following. Defendants may not label policies and procedures confidential. Plaintiff’s counsel
may share confidential material to Miguelina Pena, her husband, and her two daughters for
pertinent trial strategy only. Defense counsel must request plaintiff to destroy any confidential
materials after the litigation rather than plaintiff having the independent burden of doing so.
        In summation, the Confidentiality Order permits defendants to label materials containing
sensitive personal information such as police officers’ or crime-victim’s names, addresses,
health, tax, or other similar information, and ongoing investigations as confidential. The Order
also provides plaintiff with an efficient and expeditated right to contest defendants’ confidential
entries, and ensures that the burden of labeling materials confidential remains with defendants.
